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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

SAINT-GOBAIN PERFORMANCE
PLASTICS EUROPE,

                 Plaintiff,

        v.
                                                            Civil Action No.: ___________________
BOLIVARIAN REPUBLIC OF
VENEZUELA; PETRÓLEOS DE
VENEZUELA, S.A.,



                 Defendants.



    COMPLAINT TO REGISTER AND ENFORCE ICSID ARBITRATION AWARD AS A
                          FOREIGN JUDGMENT

        Saint-Gobain Performance Plastics Europe (“Plaintiff” or “Saint-Gobain”), by and

through its undersigned counsel, for its complaint (the “Complaint”) hereby petitions this Court

for an order pursuant to 22 U.S.C. § 1650a and 28 U.S.C. § 1738 registering as a foreign

judgment an arbitral award (“the Award”), dated November 3, 2017 (Yanos Decl., Ex. 1),1 and

issued under the Convention on the Settlement of Investment Disputes between States and

Nationals of Other States, Mar. 18, 1965, 17 U.S.T. 1270 (the “ICSID Convention” or the

“Convention”) in favor of Saint-Gobain and against Defendant the Bolivarian Republic of

Venezuela (“Venezuela”), in a dispute arising from Venezuela’s expropriation of Saint-Gobain’s

investment. Pursuant to 22 U.C.S. § 1650a, pecuniary obligations created by awards issued

pursuant to the ICSID Convention “shall be enforced and shall be given the same full faith and

credit as if the award were a final judgment of a court of general jurisdiction of one of the several

1
 As used in this Complaint, “Yanos Decl.” refers to the December _, 2018, Declaration of Alexander A. Yanos in
Support of Saint-Gobain’s Complaint to Register and Enforce ICSID Arbitration Award as a Foreign Judgment.


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States,” while “[t]he Federal Arbitration Act (9 U.S.C. 1 et seq.) shall not apply to enforcement

of awards rendered pursuant to the convention.”

       Therefore, 28 U.S.C. § 1738 requires that the Award be registered as a foreign judgment

and granted full faith and credit in this district. Because this action involves a foreign sovereign,

the registration of the Award as a foreign judgment must proceed following service pursuant to

the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§ 1602 et seq.

       In support of its Complaint, Saint-Gobain further alleges as follows:

                                Parties, Jurisdiction, and Venue

       1.      Plaintiff Saint-Gobain is a corporation organized and existing under the laws of

France. It is an indirect and wholly-owned subsidiary of Compagnie de Saint-Gobain and a

member of the Compagnie de Saint-Gobain group of companies.

       2.      Defendant Venezuela is a foreign state within the meaning of the FSIA.

       3.      Defendant Petróleos de Venezuela S.A. (“PDVSA”) is, as this Court has already

found, an alter ego of Venezuela. See Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela,

1:17-mc-00151, 2018 U.S. Dist. LEXIS 138978, *71 (D. Del. Aug. 9, 2018) (finding that

“PDVSA may be deemed the alter ego of Venezuela . . . .”). PDVSA is an instrumentality of

Venezuela within the meaning of 28 U.S.C. § 1603(b) and does business in Delaware through its

wholly owned subsidiary and a Delaware corporation, PDV Holding, Inc. (“PDVH”). Id.

       4.      The Court has jurisdiction over Defendants pursuant to 28 U.S.C. §§ 1330(a) and

1605(a) and 22 U.S.C. § 1650a. In particular, Venezuela waived its immunity from the

jurisdiction of this Court under 28 U.S.C. § 1605(a)(1) by becoming a party to the ICSID

Convention and to the Treaty. Venezuela is likewise subject to the jurisdiction of this Court

pursuant to 28 U.S.C. § 1605(a)(6)(B) because this action seeks confirmation of an award

governed by a treaty in force in the United States calling for the recognition and enforcement of


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arbitral awards, namely the ICSID Convention. In addition, the Court has subject matter

jurisdiction pursuant to 22 U.S.C. § 1650a because this Complaint seeks to enforce a pecuniary

obligation created by an arbitral award rendered under the ICSID Convention.

       5.      Venue in this District is proper under 28 U.S.C. § 1391(f)(3) because Defendant

PDVSA is an instrumentality of Venezuela that does business in Delaware through PDVH.

Venue is also proper under 28 U.S.C. § 1738 because the final judgment of a court of general

jurisdiction of one of the several States is entitled to “full faith and credit” in “every court within

the United States,” while 22 U.C.S. § 1650a requires that an ICSID award must be “given the

same full faith and credit” as “a final judgment of a court of general jurisdiction of one of the

several States.”

       6.      The Court may exercise personal jurisdiction over Venezuela and its alter ego

PDVSA pursuant to 28 U.S.C. § 1330(b).

                             The ICSID Convention and the Treaty

       7.      The ICSID Convention establishes a framework for the arbitration of investment

disputes between “Contracting States” and nationals of other “Contracting States.” See Yanos

Decl., Ex. 2 (the ICSID Convention). The Convention also establishes the International Centre

for Settlement of Investment Disputes (“ICSID”), a part of the World Bank, to administer arbitral

proceedings governed by the ICSID Convention, including the arbitration yielding the Award.

       8.      Article 25(1) of the ICSID Convention gives tribunals acting within the ICSID

framework jurisdiction over “any legal dispute arising directly out of an investment, between a

Contracting State . . . and a national of another Contracting State, which the parties to the dispute

agree in writing to submit to the Centre.”

       9.      The ICSID Convention also obliges Contracting States to enforce ICSID awards.

Article 54(1) of the Convention provides that:


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               Each Contracting State shall recognize an award rendered pursuant to this
               Convention as binding and enforce the pecuniary obligations imposed by
               that award within its territories as if it were a final judgment of a court in
               that state. A Contracting State with a federal constitution may enforce
               such an award in or through its federal courts and may provide that such
               courts shall treat the award as if it were a final judgment of the courts of a
               constituent state.

       10.     The United States has been a Contracting State to the ICSID Convention since

1966. The United States’ obligations under Article 54(1) of the Convention are implemented in

U.S. law at 28 U.S.C. § 1650a(a), which in relevant part states:

               An award of an arbitral tribunal rendered pursuant to chapter IV of the
               Convention shall create a right arising under a treaty of the United States.
               The pecuniary obligations imposed by such an award shall be enforced
               and shall be given the same full faith and credit as if the award were a
               final judgment of a court of general jurisdiction of one of the several
               States.

       11.     Awards rendered under the ICSID Convention are not subject to the same review

under the Federal Arbitration Act as other international arbitration awards and do not require

confirmation in the manner prescribed by the Federal Arbitration Act. This is established clearly

at 28 U.S.C. § 1650a, which states “[t]he Federal Arbitration Act (9 U.S.C. 1 et seq.) shall not

apply to enforcement of awards rendered pursuant to the Convention.” See also Mobil Cerro

Negro, Ltd. v. Bolivarian Republic of Venezuela, 863 F.3d 96, 102 (2d Cir. 2017) (“Member

states’ courts are . . . not permitted to examine an ICSID award’s merits, its compliance with

international law, or the ICSID tribunal’s jurisdiction to render the award; under the

Convention’s terms, they may do no more than examine the judgment’s authenticity and enforce

the obligations imposed by the award.”).

       12.     Instead, and by design, review of ICSID awards is encapsulated within the

procedural framework of the ICSID Convention itself. ICSID Awards may be annulled or set

aside only by specially-constituted ad hoc committees appointed by the Chairman of the



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Administrative Council of ICSID (ex officio the President of the World Bank) on specific

grounds enumerated in the ICSID Convention. See Yanos Decl., Ex. 2 Arts. 52-53.

       13.     The ICSID Convention entered into force for Venezuela on June 1, 1995.

Venezuela formally withdrew from the ICSID Convention on January 25, 2012, with effect from

July 25, 2012. Venezuela’s withdrawal from the ICSID Convention has no bearing on this case.

Under Article 72 of the ICSID Convention, a State’s notice of withdrawal from the Convention

“shall not affect the rights or obligations under th[e] Convention of that State . . . arising out of

consent to the jurisdiction of [ICSID] given . . . before such notice was received.” Id., Ex. 2.

       14.     Here, in Article 8 of the France-Venezuela Bilateral Investment Treaty dated

April 30, 2004, France and Venezuela consented to submit disputes with one another’s investors

arising under the Treaty to ICSID. Saint-Gobain accepted Venezuela’s offer to arbitrate Treaty

disputes by notices of dispute sent to Venezuela July 4, 2011 and January 17, 2012. See id., Ex.

1 ¶¶ 249, 253. Therefore, both parties consented to arbitrate this dispute before Venezuela’s

denunciation of the ICSID Convention.

       15.     Indeed, Venezuela has never disputed the Tribunal’s jurisdiction over Saint-

Gobain’s expropriation claims under the Treaty or the ICSID Convention.

                                 The Arbitration and the Award

       16.     On March 29, 2011, Venezuelan President Hugo Chávez decreed the

expropriation of Saint-Gobain’s 99.99% interest in NorPro Venezuela C.A., a company which

manufactured ceramic proppants used during fracking to keep induced hydraulic fractures

“propped” open. See Yanos Decl., Ex. 1 ¶¶ 245-47.

       17.     Saint-Gobain filed a request for ICSID arbitration against Venezuela on May 25,

2012. In its Request, Saint-Gobain sought compensation for Venezuela’s unlawful expropriation

of its investment in Venezuela. Id. ¶¶ 5, 266.


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       18.     Saint-Gobain’s request for arbitration was registered as ICSID Case Number

ARB/12/13 on June 15, 2012.

       19.     Consistent with the ICSID Convention and Arbitration Rules, a three-member

Tribunal was constituted for the case. Three eminent international lawyers constituted the

Tribunal: Judge Charles N. Brower, a U.S. citizen and former judge of the Iran-U.S. Claims

Tribunal, appointed by Saint-Gobain; Mr. Gabriel Bottini, an Argentine citizen and former

Director of International Affairs and Disputes of the Treasury-Attorney General’s Office of

Argentina, appointed by Venezuela; and Prof. Dr. Klaus Sachs, a German citizen and noted

international arbitrator, jointly selected by the parties as President of the Tribunal.

       20.     Following the exchange of voluminous written submissions, the Tribunal held a

four-day oral hearing at the World Bank from February 2 to 5, 2015.

       21.     On December 30, 2016, the Tribunal rendered a Decision on Liability and the

Principles of Quantum (“Decision on Liability”). See Yanos Decl., Ex. 3 (Decision on Liability).

In the Decision on Liability, the Tribunal found that Venezuela had breached Article 5 of the

Treaty by expropriating Saint-Gobain’s investment without paying compensation. See id. ¶ 908.

       22.     The Decision on Liability also discussed, at length, the principles upon which the

Tribunal would assess the quantum of compensation to be paid to Saint-Gobain. See id. ¶¶ 566-

905. The Tribunal then gave the parties two months to attempt to reach agreement on the

amount of compensation to be paid to Saint-Gobain, failing which it would hear further

submissions on outstanding quantum issues. See id. ¶ 907.

       23.     Venezuela and Saint-Gobain were not able to reach agreement on the quantum of

compensation to be paid. The parties accordingly submitted further extensive pleadings and




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expert testimony on the appropriate quantum of compensation for Venezuela’s unlawful

expropriation of Saint-Gobain’s investment.

       24.     Subsequently, on November 3, 2017, the Tribunal issued its Award pursuant to

Chapter IV (Articles 48-49) of the ICSID Convention. The Tribunal ordered Venezuela to pay

Saint-Gobain compensation as follows:

       (i)     US$ 29.6 million as the principal amount of compensation for the expropriation

               of Saint-Gobain’s investment in Venezuela;

       (ii)    US$ 4.8 million as pre-award interest from May 15, 2010 through March 31,

               2017, with further pre-award interest through November 3, 2017 to be calculated

               at a rate equal to 2% over the average 6-month U.S. Treasury bill rate,

               compounded annually;

       (iii)   Post-award interest on the principal amount of compensation at a rate equal to 2%

               over the average 6-month U.S. Treasury bill rate, compounded annually;

       (iv)    The costs of the arbitration, in the amount of US$ 1,303.189.99;

       (v)     Two-thirds of Saint-Gobain’s legal fees and expenses in the amount of US$

               4,634,532.05; and

       (vi)    Post-award interest on costs at a rate equal to 2% over the average 6-month U.S.

               Treasury bill rate, compounded annually.

       See Yanos Decl., Ex. 1 ¶ 72.

       25.     A detailed calculation of amounts payable under the Award (US$ 42,342,379.31

as of December 7, 2018) is attached. See Yanos Decl., Ex. 4.

       26.     The Award is binding on Venezuela and its alter ego PDVSA. Pursuant to Article

53 of the ICSID Convention, Venezuela and its alter ego PDVSA are obligated to “abide by and




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comply with the terms of the award” unless and “except to the extent that enforcement shall have

been stayed” by an ad hoc committee constituted under Article 52 of the ICSID Convention.

        27.    The Award has not been stayed. To the contrary, an ICSID ad hoc committee

constituted on June 7, 2018 at Venezuela’s request has expressly refused to stay the Award.

        28.    In a Procedural Order issued on October 24, 2018 (the “Procedural Order”), the

ad hoc committee found “no circumstances that require the stay of enforcement of the Award.” See

Yanos Decl., Ex. 5 (Procedural Order, dated Oct. 24, 2018) ¶ 25. The ad hoc committee also

announced the suspension of its proceedings due to Venezuela’s repeated failure to pay mandatory

advances on costs. See id. ¶¶ 27-30.

        29.    Neither Venezuela nor its alter ego PDVSA have paid any of the amounts due

under the Award.

                                          COUNT ONE

                    For Registration of the Award as a Foreign Judgment
                               Pursuant to 22 U.S.C. § 1650a

        30.    Plaintiff Saint-Gobain restates and reincorporates all of the foregoing paragraphs

of this Complaint as though fully set forth herein.

        31.    The Award was rendered by an arbitral tribunal pursuant to the ICSID

Convention.

        32.    Article 54(1) of the ICSID Convention requires Contracting States to “recognize

an award rendered pursuant to [the ICSID] Convention as binding and enforce the pecuniary

obligations imposed by that award within its territories as if it were a final judgment of a court in

that State.”




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         33.      Article 54(1) is incorporated into U.S. law by 22 U.S.C. § 1650a, which requires

that the Award “shall be given the same full faith and credit as if the award were a final

judgment of a court of general jurisdiction of one of the several States.”

         34.      Finally, 28 U.S.C. § 1738 requires this Court to accord full faith and credit to the

judgments of the several states.

         35.      For all these reasons, the Court should register the Award as a Foreign Judgment.

                                             COUNT TWO

                      For Enforcement of the Award Pursuant to 22 U.S.C. § 1650a

         36.      Plaintiff Saint-Gobain restates and reincorporates all of the foregoing paragraphs

of this Complaint as though fully set forth herein.

         37.      22 U.S.C. § 1650a, requires that “[t]he pecuniary obligations imposed by” the

Award “shall be enforced as if the award were a final judgment of a court of general jurisdiction

of one of the several States.”

         38.      For all these reasons, the Court should enforce the pecuniary obligations of the

Award.

                                       PRAYER FOR RELIEF

         WHEREFORE, Saint-Gobain respectfully requests that the Award be registered in this

Court and that such Judgment be made a final personal judgment of this Court in favor of Saint-

Gobain and against Venezuela and its alter ego, PDVSA, and directing as follows:

         A. Ordering Venezuela and PDVSA to pay to Saint-Gobain an amount equal to the

               pecuniary obligations of the Award (calculated at US$ 42,342,379.31 as of December

               7, 2018), and comprising:

                  a. US$ 29.6 million as the principal amount of compensation for the

                      expropriation of Saint-Gobain’s investment in Venezuela; plus US$ 4.8


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              million as pre-award interest from May 15, 2010 through March 31, 2017,

              with further pre-award interest through November 3, 2017 in the amount of

              US$ 542,189.80, and post-award interest rate of 2% over the average 6-month

              U.S. Treasury bill rate, compounded annually (equal to US$ 1,218,115.14 as

              of December 7, 2018);

           b. US$ 1,303,189.99 as the costs of the arbitration; and US$ 4,634,532.05

              representing two-thirds of Saint-Gobain’s legal fees and expenses, both

              subject to post-award interest through the date of satisfaction of the Award at

              a rate of 2% over the average 6-month U.S. Treasury bill rate, compounded

              annually (equal to US$ 244,352.32 as of December 7, 2018); and

    B. Granting such other and further relief against Venezuela and PDVSA as the Court

       may deem just and proper.




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Dated: December 12, 2018           PACHULSKI STANG ZIEHL & JONES LLP

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